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                   4.      Non-Government Sponsored Downward Variances and Departures

        A final means of reducing a defendant’s sentencing exposure was a non-government
downward variance or departure. Of the total 1,654 non-production cases, 733 cases (44.3%)
involved courts’ imposition of sentences below the applicable guidelines ranges based on non-
government sponsored variances or departures.52 Such downward variances or departures
usually were initiated by the filing of a motion by the defendant, but it appears from the
statement of reasons forms that sentencing courts occasionally downwardly varied or departed
sua sponte.53 Of the 733 cases involving downward variances or departures, the prosecution
objected in 632 such cases (86.2%), but did not object in 101 cases (13.8%). The three leading
reasons given by courts for downwardly varying or departing from the applicable guideline
ranges were: (1) a variance based on the “nature and circumstances of the offense [and/or] the
history and characteristics of the defendant” under 18 U.S.C. § 3553(a)(1) (551 cases, or 75.1%
of cases with variances or departures); (2) a departure54 or variance based on the
overrepresentation of a defendant’s criminal history score (26 cases, or 3.5% of such cases); and
(3) a departure based on a mitigating factor of a kind or to a degree not adequately taken into
consideration by §2G2.2 (20 cases, or 2.7% of such cases).55 The remaining 18.7 percent of
downward variances and departures were based on a wide variety of grounds, including
defendants’ ages (youthful or elderly), physical conditions, and previous employment records.
Some cases involved multiple grounds for downward variance or departure.

        As a result of the different types of variances and departures, only 668 (40.4%) of the
1,654 non-production defendants received within-range sentences in fiscal year 2010. Figure
8–11 below shows the different types of variances and departures in non-production cases
(including upward variances or departures, which occurred in only 1.9% of cases).




sexual examination by a mental health expert (that would be shared with the prosecution and court). This practice
was limited to only a few districts (e.g., W.D. Wash.).
52
  The vast majority of such sentences imposed outside of the applicable guidelines ranges in non-production child
pornography cases were the result of variances rather than departures. See, e.g., U.S. SENT’G COMM’N,
SOURCEBOOK OF FEDERAL SENTENCING STATISTICS 80 (2010) (Table 28). In fiscal year 2011, the percentage of
USSG §2G2.2 offenders receiving non-government sponsored variances or departures grew to 48.1%. See U.S.
SENT’G COMM’N, SOURCEBOOK FOR FEDERAL SENTENCING STATISTICS 80 (2011) (Table 28).
53
   Such sua sponte downward variances or departures most commonly occurred in cases in which a defendant had
agreed in the plea agreement not to move for a variance or departure.
54
     See USSG §4A1.3(b) (Departures Based on Inadequacy of Criminal History Category (Policy Statement)).
55
     See USSG §5K2.0 (Grounds for Departure (Policy Statement)).


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                                                                                        EXHIBIT B.001
